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 6

 7                                   UNITED STATES DISTRICT COURT

 8                                   EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                        No. 2:17-CR-00184 KJM

11                      Plaintiff,                    SUBSTITUTION OF ATTORNEY
                                                      REQUEST; ORDER
12          v.

13   MARTINIANO VELASCO YESCA,

14                      Defendant.

15

16
     It is respectfully requested that defendant Martiniano Velasco Yesca substitute CJA attorney Michael
17
     Hansen in place of retained attorney Anthony Palik. Mr. Palik requested to be relieved. Mr. Velasco
18

19   Yesca qualifies for appointed counsel.

20
     Dated: April 10, 2019                                Respectfully submitted,
21
                                                          /s/ Michael E. Hansen
22                                                        MICHAEL E. HANSEN
                                                          Attorney for Defendant
23                                                        MARTINIANO VELASCO YESCA

24   IT IS SO ORDERED.

25   Dated: April 11, 2019

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